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6
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7      ROBIN DIMAGGIO
8                               UNITED STATES DISTRICT COURT
9                           CENTRAL DISTRICT OF CALIFORNIA
10                                   WESTERN DIVISION
11
12
       UNITED STATES OF AMERICA,                      Case No. 18-891-DMG
13
                   Plaintiff,                         SECOND EX PARTE REQUEST TO
14                                                    MODIFY BOND CONDITION
             v.
15
       ROBIN DIMAGGIO,
16
                   Defendant.
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18
             Defendant, Robin DiMaggio, by and through his counsel of record, Deputy
19
       Federal Public Defender, Erin Murphy, hereby requests that this court modify his bond
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       condition to remove the electronic monitoring condition so that Mr. DiMaggio can seek
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       employment.
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23                                          Respectfully submitted,
24                                          HILARY POTASHNER
                                            Federal Public Defender
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26
       DATED: June 4, 2019               By /s/ Erin Murphy
27                                         ERIN MURPHY
28                                         Deputy Federal Public Defender

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1                     SECOND REQUEST TO MODIFY BOND CONDITION
2            On December 10, 2018, Mr. DiMaggio made his initial appearance. The Court
3      granted bail with conditions, including electronic monitoring.1 (ECF No. 1 at 2). On
4      May 20, 2019, through counsel, Mr. DiMaggio sought to modify the condition
5      requiring electronic monitoring. (ECF No. 37.) He sought to remove that condition so
6      that he could work professionally as a drummer. (Id.) This Court denied that motion.
7      (ECF No. 39.) New circumstances--namely, more concrete employment prospects--
8      prompt this second request.
9            Mr. DiMaggio continues to care for his ill mother. Since filing the last request,
10     counsel met with Mr. DiMaggio’s mother, who appears to be bedridden and unable to
11     care for herself, including preparing meals, using the restroom, bathing, and
12     administering medicine. (Decl. of Erin Murphy, ¶2.) Mr. DiMaggio is her caretaker,
13     and thus, tends to her during the day. (See id.)
14           To support himself financially, Mr. DiMaggio hopes to continue his work as a
15     professional drummer.2 (See Ex. A to Erin Murphy Decl.) Counsel has confirmed that
16     Mr. DiMaggio has hiring prospects to drum at a recording studio in Los Angeles.
17     (Decl. of Erin Murphy, ¶3.) This would allow him to work more flexible hours at
18     night, and continue to care for her during the daytime. With the electronic monitor,
19     however, the range of motion required for drumming is significantly diminished, and
20     drumming can be physically painful. (Id. at ¶5.)
21           The government objects to the request. (See Decl. of Erin Murphy, ¶7.) In its
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24              It should be noted that Pretrial Services’ bail recommendation at initial
       appearance did not include electronic monitoring as a condition of bail. Electronic
25     monitoring was a condition proposed to the Court by the parties.
              2
                In the previous submission to the Court, the undersigned indicated her belief
26     that drumming was Mr. DiMaggio’s only job over 42 years. That was incorrect and the
       undersigned was mistaken. The undersigned apologizes to the Court for that error, and
27     now understands that Mr. DiMaggio has worked other jobs, including as a Musical
       Director for the United Nations, as the government acknowledges, and as a songwriter
28     and producer. However, the undersigned understands that drumming has been his
       primary source of income over the course of his career. (Decl. of Erin Murphy, ¶5.)
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1      Opposition to the previous Request to Modify Bond, the government argued that Mr.
2      DiMaggio remains a flight risk. (ECF No. 38.) The government relies, in part, on
3      evidence that Mr. DiMaggio told counsel in a related civil matter--one month before he
4      was arrested--that he intended to move to Paris. (Id. at pp. 2–3.) The Complaint
5      Affidavit indicates, however, that Mr. DiMaggio never purchased a ticket to Paris.
6      (ECF No. 1 at pp. 23–24.) Further, when Mr. DiMaggio was released on bail, he
7      surrendered his passport to Pretrial Services. (ECF Nos. 5, 9.) Also, while on pretrial
8      release, the undersigned understands that Mr. DiMaggio has traveled with permission
9      from Pretrial Services, and returned. (Erin Murphy Decl., ¶6.) Besides the allegations
10     here--which are to be afforded the least weight at this stage--there is no evidence of a
11     serious risk of flight. 18 U.S.C. § 3142(f)(2)(A).
12           Meanwhile, Mr. DiMaggio’s son, Christian DiMaggio, agreed to serve as a
13     surety for $30,000 on his father’s behalf. (See Bond Conditions - ECF No. 16.) This is
14     a significant amount of money to his adult son, who works full-time, six days a week
15     for an ATM servicing company. (Erin Murphy Decl., ¶3.) Also, Mr. DiMaggio is his
16     mother’s caretaker; his son works full-time, and his sister lives in Nevada. (Id. at ¶¶2–
17     3.) Fleeing would jeopardize the health and financial well-being of his own adult child
18     and ailing mother. The risk of such consequences sufficiently assures Mr. DiMaggio’s
19     appearance in this matter without the need of an ankle monitor.
20           Pretrial Services confirms that Mr. DiMaggio remains in compliance with his
21     bond conditions and takes no position on the instant request.
22                                            Respectfully submitted,
23                                            HILARY POTASHNER
                                              Federal Public Defender
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25
       DATED: June 4, 2019                 By /s/ Erin Murphy
26                                           ERIN MURPHY
27                                           Deputy Federal Public Defender

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1                                DECLARATION OF ERIN MURPHY
2            I, Erin Murphy, hereby state and declare as follows:
3         1. I am the attorney of record for defendant, Robin DiMaggio.
4         2. Mr. DiMaggio is serving as a caretaker for his mother during the day. I visited
5            with his mother at her home. She appeared to be bedridden. She confirmed to
6            me, through the assistance of a certified French interpreter, that she relies on Mr.
7            DiMaggio to assist her with her basic needs every day. This includes eating,
8            bathing, using the restroom, and taking her medications.
9         3. I spoke with Mr. DiMaggio’s son, Christian DiMaggio. He confirmed that he
10           works full-time six days a week for an ATM servicing company. He further
11           confirmed that Mr. DiMaggio’s sister lives in Henderson, Nevada.
12        4. I spoke with Mike Fennel. I understand that he is a Head Engineer at a recording
13           studio in Los Angeles. He confirmed to me that he would have work for Mr.
14           DiMaggio as a drummer in the evenings and early mornings.
15        5. I understand that Mr. DiMaggio cannot drum with an ankle bracelet without it
16           being painful. I understand that drumming has been his primary source of
17           income over his career.
18        6. On June 3, 2019, Pretrial Services Officer Manuel Ibanez confirmed to me that
19           Mr. DiMaggio has been in full compliance with his bond conditions. He further
20           informed me that Pretrial Services allowed Mr. DiMaggio to travel and he
21           returned. Pretrial Services does not take any position on the instant request.
22        7. On May 7, 2019, I contacted Assistant United States Attorney Poonam Kumar.
23           Ms. Kumar indicated that the government objects to this request.
24        8. Attached here as Exhibit A is a PDF-printout of a Wikipedia entry for Mr.
25           DiMaggio, which I obtained on June 3, 2019.
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1            I declare under penalty of perjury that the foregoing is true and correct to the best
2      of my knowledge.
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4      DATE: June 4, 2019                  By /s/ Erin Murphy
5                                            ERIN MURPHY

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